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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

GILLESPIE & POWERS, INC.,  )
                           )
    Plaintiff,             )
v.                         ) C.A. No. 1:23-cv-000273-GBW
                           )
ALCOA WARRICK LLC, WARRICK )
REAL ESTATE LLC and KAISER )
ALUMINUM WARRICK, LLC,     )
                           )
    Defendants.            )

                          SUBSTITUTION OF COUNSEL

        The undersigned hereby consent to the substitution of Armand J. DellaPorta,

Jr., Esquire, of Marshall Dennehey, P.C., 1007 N. Orange Street, Suite 600, P.O.

Box 8888, Wilmington, DE 19899, as attorney for Plaintiff, Gillespie & Powers,

Inc.

        This substitution shall not delay the trial of this matter.


MARSHALL DENNEHEY, P.C.                                 DLA PIPER, LLP (US)

/s/ Armand J. Della Porta, Jr.                          /s/ Daniel P. Klusman
ARMAND J. DELLA PORTA, JR., ESQ.                        DANIEL P. KLUSMAN, ESQ.
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Wilmington, DE 19899                                    Withdrawing Attorney
Superseding Attorney

Dated: September 11, 2023


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